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                                         U.S. Department of Justice
[Type text]
                                                       United States Attorney
                                                       Southern District of New York

               The application is GRANTED. By February 12, 2021, the parties shall
               file a status letter. If any development in the bankruptcy
               proceeding will immediately affect this case, the parties shall inform
               the Court by letter within two business days.

               SO ORDERED

               Dated: October 16, 2020
                      New York, New York




       Re: United States of America v. Gray et al., No. 18-CV-5531

Dear Judge Schofield:

        Pursuant to the Court’s order dated November 13, 2018, the United States submits this
status update jointly with the parties that have appeared or are known to be represented by counsel
in this matter, Roger Gray, Shelley Gray, Center Line Studios, and the Workers’ Compensation
Board of The State of New York.

        Since the parties’ joint letter dated August 10, 2020, the Grays have made two payments
pursuant to the bankruptcy court’s order confirming their Second Amended Reorganization Plan
(“the Plan”). The parties request that this case remain stayed to monitor for regular monthly
payments toward the Small Business Administration’s claim. If the Grays demonstrate six months
of compliance with the Plan, the United States will agree to voluntarily dismiss this foreclosure
action without prejudice. If the Grays default on the Plan, however, the United States will seek to
reinstate this foreclosure action and pursue a judicial sale of the property.

       The parties request to adjourn the next status report to February 12, 2021, at which time
they will have a better sense of whether further action in this Court may be necessary. If the Court
requires additional information related to this matter, the parties will provide it promptly.

                                                        Respectfully submitted,

                                                        AUDREY STRAUSS
                                                        Acting United States Attorney

                                                   By: /s/ Melissa A. Childs
                                                       MELISSA A. CHILDS
                                                      Assistant United States Attorney
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                                            Email: melissa.childs@usdoj.gov

Agreed by email dated October 14, 2020:



 O’CONNELL AND ARONOWITZ                  HENRY & ASSOCIATES PLLC
 Attorney for Defendants Roger Gray,      Attorney for Defendant the Workers’
 Shelley Gray, and Center Line            Compensation Board of The State of
 Studios                                  New York
 By: /s/ Peter A. Pastore                 By: /s/ Stephanie A. Henry
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